     Case 18-33730-hdh11 Doc 147-1 Filed 09/06/19                  Entered 09/06/19 15:16:40           Page 1 of 11
Format
Name of Insurance Company (Payer ID)
    1. Physical Address or Headquarters’ Address
    2. Name of Registered Agent or RA Address (if known)
           a. Address of Registered Agent (if known)
    3. Name of Legal Representative or Legal Department Address (if known)
           a. Legal Department Address (if known)

       The 702 Law Firm                                        Absolute Total Care
           1. 400 S. 7th St. Las Vegas, NV 89101                  1. 1441 Main Street # 900 Columbia, SC 29201
                                                                  2. C T Corporation System
                                                                           a. 2 Office Park Court Suite 103
                                                                               Columbia, SC 29223
                                                                  3. PO Box 3050 Farmington, MO 63640

       ACCIDENT FUND HOLDINGS, INC. (J1790)                    Advicare, Corp. (out of business); Wellcare of South
         1. 200 North Grand Ave., Lansing, MI 48933            Carolina, INC. (14163)
         2. KEVIN ZIELKE                                          1. 8725 Henderson Road Tampa, FL 33634
                a. 200 North Grand Ave.,                          2. CT Corporation System
                    Lansing, MI 48933                                      a. 2 Office Park Court Suite 103
         3. PO Box 40790, Lansing, MI 40891                                     Columbia, SC 29223

       Wellcare of South Carolina, Inc. (14163)                Aetna Health, Inc. (39065)
          1. 8725 Henderson Road Tampa, FL 33634                   1. 9494 SW Freeway, Ste. 300 Houston, TX
          2. C T Corporation System                                   77074
                   a. 2 Office Park Court Suite 103                2. CT Corporation System
                       Columbia, SC 29223                                 a. 1999 Bryan St., Ste 900 Dallas, TX
          3. Well Care                                                         75201-3136
                   a. PO Box 31386 Tampa, FL 33631                 3. CT Corporation System
                                                                          a. 1999 Bryan St., Ste 900 Dallas, TX
                                                                               75201-3136

       Aetna Health, Inc. (60054)                              AIG Specialty Insurance Co. (19402)
           1. 9494 SW Freeway, Ste. 300 Houston, TX 77074         1. 175 Water St 18th Floor New York, NY 10038
           2. CT Corporation System                               2. Corporation Service C Incorporating Service
                  a. 1999 Bryan St., Ste 900 Dallas, TX               Company
                       75201-3136                                          a. 701 Brazos St., Ste. 1050
           3. CT Corporation System                                            Austin, TX 78701
                  a. 1999 Bryan St., Ste 900 Dallas, TX           3. Corporation Service C Incorporating Service
                       75201-3136                                     Company
                                                                           a. 701 Brazos St., Ste. 1050
                                                                               Austin, TX 78701

       Morris Bart, LLC                                        AmeriBen Solutions Inc. (75137)
          1. 601 Poydras St Floor 24 New Orleans, LA 70130        1. P.O. Box 7186 Boise, ID 83642
          3. Morris Bart, LLC                                     2. Bryan W. Hall
                 a. 601 Poydras St Floor 24                              a. 2888 W Excursion Ln
                     New Orleans, LA 70130                                    Meridian, ID 83642
                                                                  3. AmeriBen Solutions Inc.
                                                                         a. P.O. Box 7186 Boise, ID 83642

       American Mining Insurance Company (J1524)               Amerigroup Texas, Inc. (26375)
          1. 3490 Independence Drive Birmingham, AL               1. 823 Congress Ave Ste 400 Austin, TX 78701
              35209                                               2. CT Corporation System
          2. Vivian Imperial                                             a. 1999 Bryan St., Ste 900
                  a. 818 West Seventh Street Suite 930                       Dallas, TX 75201-3136
                     Los Angeles, CA 90017                        3. CT Corporation System
          3. Vivian Imperial                                             a. 1999 Bryan St., Ste 900
                  a. 818 West Seventh Street Suite 930                       Dallas, TX 75201-3136
                     Los Angeles, CA 90017

                                                       Exhibit A
                                                      Page 1 of 11
Case 18-33730-hdh11 Doc 147-1 Filed 09/06/19                 Entered 09/06/19 15:16:40          Page 2 of 11
 AmTrust Financial Services, Inc. (12491)                 ANTHEM BLUE CROSS LIFE AND HEALTH
   1. 59 Maiden Lane, 43rd Floor                          INSURANCE COMPANY (00542)
       New York, NY 10038                                    1. 220 Virginia Avenue Indianapolis, IN 46204
   2. CORPORATION SERVICE COMPANY                            2. C T CORPORATION SYSTEM
            a. 80 State Street Albany, NY 12207                     a. 818 West Seventh Street Suite 930
   3. CORPORATION SERVICE COMPANY                                       Los Angeles, CA 90017
            a. 80 State Street Albany, NY 12207

 ANTHEM BLUE CROSS LIFE AND HEALTH                        Anthem Insurance Companies, Inc. (00050)
 INSURANCE COMPANY (BC001)                                   1. 120 Monument Circle Indianapolis, IN 46204
    1. 220 Virginia Avenue Indianapolis, IN 46204            2. William Garrido
    2. CT Corporation System                                         a. 14 Wall Street, 14th Floor
           a. 111 Eighth Ave 13th Fl                                    New York, NY 10005
               New York, NY 10011                            3. William Garrido
                                                                     a. 14 Wall Street, 14th Floor
                                                                        New York, NY 10005

 ANTHEM INSURANCE COMPANIES, INC. (00265)                 ARIEL THIRD PARTY ADMINISTRATORS, INC.
    1. 9133 W Russell Rd Las Vegas, NV 89148                 1. 1205 Colonial Life Blvd W STE W
    2. William Garrido                                          Columbia, SC 29210-7671
           a. 14 Wall Street, 14th Floor                     2. CURTIS C. STEWART
               New York, NY 10005                                   a. 1205 Colonial Life Blvd
    3. William Garrido                                                  Columbia, SC 29210
           a. 14 Wall Street, 14th Floor                     3. CURTIS C. STEWART
               New York, NY 1000                                    a. 1205 Colonial Life Blvd
                                                                        Columbia, SC 29210

 ASSOCIATED RISK MANAGEMENT, INC. (63240)                 Blue Cross and Blue Shield of Texas, Inc (00900)
    1. 1027 S Carson St Carson City, NV 89701                 1. 1001 E. Lookout Drive Richardson, TX 75802
    2. KENNETH BROWN                                          2. Ronald Taylor
           a. 1027 S Carson St                                        a. 901 South Central Expwy
               Carson City, NV 89701                                      Richardson, TX 75080
                                                              3. 801 Adlai Stevenson Drive
                                                                 Springfield, IL 62703

 Blue Cross and Blue Shiled of Texas, Inc (84980)         Blue Cross and Blue Shield of Texas, Inc (00690)
     1. 1001 E. Lookout Drive Richardson, TX 75802            1. 1001 E. Lookout Drive Richardson, TX 75802
     2. Ronald Taylor                                         2. Ronald Taylor
             a. 901 South Central Expwy                               a. 901 South Central Expwy
                 Richardson, TX 75080                                     Richardson, TX 75080
     3. 801 Adlai Stevenson Drive Springfield, IL 62703       3. 801 Adlai Stevenson Drive
                                                                 Springfield, IL 62703

 BLUE CROSS AND BLUE SHIELD OF                            BLUE CROSS AND BLUE SHIELD OF SOUTH
 MASSACHUSETTS HMO BLUE, INC. (00700)                     CAROLINA (00402)
    1. 101 Huntington Ave., Ste. 1300                        1. I-20 & Alpine Rd Columbia, SC 29219
       Boston, MA 02199                                      2. Duncan S. Mcintosh
    2. CORPORATION SERVICE COMPANY                                   a. I-20 at Alpine Road, AA-270
           a. 84 State Street Boston, MA 02109                           Columbia, SC 29219
                                                             3. Attention Legal Department: I20 at Alpine Rd
                                                                AA-270 Columbia, SC 29219

 BLUE CROSS AND BLUE SHIELD OF SOUTH                      BLUE CROSS AND BLUE SHIELD OF SOUTH
 CAROLINA (00880)                                         CAROLINA (SB880)
    1. I-20 & Alpine Rd Columbia, SC 29219                   1. I-20 & Alpine Rd Columbia, SC 29219
    2. Duncan S. Mcintosh                                    2. Duncan S. Mcintosh
            a. I-20 at Alpine Road, AA-270 Columbia,                 a. I-20 at Alpine Road, AA-270
                SC 29219                                                 Columbia, SC 29219
    3. Attention Legal Department: I20 at Alpine Rd          3. Attention Legal Department: I20 at Alpine Rd
       AA-270 Columbia, SC 29219                                AA-270 Columbia, SC 29219



                                                 Exhibit A
                                                Page 2 of 11
Case 18-33730-hdh11 Doc 147-1 Filed 09/06/19               Entered 09/06/19 15:16:40           Page 3 of 11
 BLUE CROSS AND BLUE SHIELD OF SOUTH                    BLUE CROSS AND BLUE SHIELD OF SOUTH
 CAROLINA (SB900)                                       CAROLINA (00401)
    1. I-20 & Alpine Rd Columbia, SC 29219                 1. I-20 & Alpine Rd Columbia, SC 29219
    2. Duncan S. Mcintosh                                  2. Duncan S. Mcintosh
            a. I-20 at Alpine Road, AA-270 Columbia,               a. I-20 at Alpine Road, AA-270
               SC 29219                                                Columbia, SC 29219
    3. Teresa Spatharos                                    3. Attention Legal Department: I20 at Alpine Rd
            a. I-20 & Alpine Rd Columbia, SC 29219            AA-270 Columbia, SC 29219

 BLUE CROSS BLUE SHIELD HEALTHCARE PLAN                 BLUECHOICE HEALTHPLAN OF SOUTH
 OF GEORGIA, INC. (00601)                               CAROLINA, INC. (00403)
    1. 220 Virginia Avenue Indianapolis, IN 46204          1. I-20 & Alpine Rd Columbia, SC 29219
    2. C T Corporation System                              2. Duncan S. Mcintosh
           a. 289 S Culver St Lawrenceville, GA                    a. I-20 at Alpine Road, AA-270
               30046-4805                                              Columbia, SC 29219
                                                           3. Attention Legal Department: I20 at Alpine Rd
                                                              AA-270 Columbia, SC 29219

 BLUECHOICE HEALTHPLAN OF SOUTH                         BLUECROSS BLUESHIELD OF TENNESSEE,
 CAROLINA, INC. (00922)                                 INC. (00890)
    1. 4101 Percival Rd Columbia, SC 29229                 1. 1 Cameron Cir. Chattanooga TN
    2. Duncan S. Mcintosh                                  2. Anne Hance
           a. I-20 at Alpine Road, AA-270 Columbia,                a. 1 Cameron Hill Cir
               SC 29219                                               Chattanooga, TN 37402-9815
    3. 1000 Executive Center Dr. Greenville, SC 29615

 Boon-Chapman Benefit Administrators, Inc. (74238)      Builders Mutual Insurance Company (J1968)
    1. 9401 Amberglen Blvd Building I Suite 100             1. 1033 Wade Ave Suite 202 Raleigh, NC 27605
        Austin, TX 78729                                    2. James Stuart
    2. Kevin Chapman                                               a. 5580 Centerview Drive
            a. 9401 Amberglen Blvd Building I Suite                     Raleigh, NC 27606
                 100 Austin, TX 78729                       3. Po Box 150006 Raleigh, NC 27624
    3. Boone Chapman - PO Box 9201
        Austin, TX 78766

 Care N' Care Insurance Company Inc. (37228)            Care Improvement Plus Group Management, LLC
    1. 1701 River Run suite 402 Fort Worth, TX 76107    (87726)
    2. N/A                                                  1. 540 Center Ste 150 San Antonio,
    3. 1701 River Run suite 402 Fort Worth, TX 76107            TX 78202-2709
         ATTN: Legal Department                             2. The Corporation Trust, Incorporated
                                                                   a. 2405 York Road Suite 201 Lutherville
                                                                       Timonium, MD 21093-2264

 CAREFIRST of MARYLAND, INC. (SB880)                    Cannon Cochran Management Services Inc
   1. 1501 S. Clinton St. Baltimore, MD 21224              1. 2 East Main Street Towne Centre Building
   2. The Corporation Trust, Incorporated                      Danville, IL 61832
          a. 2405 York Road, Suite 201 Lutherville         2. C T Corporation System
              Timonium, MD 21093-2264                             a. 208 So Lasalle St, Suite 814
                                                                        Chicago, IL 60604

 CCMSI HOLDINGS, INC.                                   CIGNA BEHAVIORAL HEALTH OF TEXAS
   1. 2 East Main St Danville, IL 61832                 (62308)
   2. C T CORPORATION SYSTEM                                1. 900 Cottage Grove Rd
          a. 208 So Lasalle St, Suite 814                       Hartford, CT 06152-0001
              Chicago, IL 60604-1101                        2. C T CORPORATION SYSTEM
                                                                    a. 1999 Bryan St., Ste. 900 Dallas, TX
                                                                         75201-3136




                                                Exhibit A
                                               Page 3 of 11
Case 18-33730-hdh11 Doc 147-1 Filed 09/06/19              Entered 09/06/19 15:16:40         Page 4 of 11
 Cigna Insurance Agency LLC. (62308)                   CIGNA HEALTHCARE OF TEXAS, INC. (62308)
     1. 900 Cottage Grove Rd Hartford, CT 06152-0001      1. 900 Cottage Grove Rd Hartford, CT 06152-
     2. C T CORPORATION SYSTEM                               0001
             a. 1999 Bryan St., Ste. 900 Dallas, TX       2. C T CORPORATION SYSTEM
                75201-3136                                       a. 1999 Bryan St., Ste. 900 Dallas, TX
                                                                     75201-3136

 CIGNA BEHAVIORAL HEALTH, INC. (62308)                 CIGNA Health Management, Inc. (62308)
    1. 900 Cottage Grove Rd Hartford, CT 06152-0001       1. 900 Cottage Grove Rd Hartford, CT 06152-
    2. C T CORPORATION SYSTEM                                0001
           a. 1999 Bryan St., Ste. 900 Dallas, TX         2. C T CORPORATION SYSTEM
               75201-3136                                        a. 1999 Bryan St., Ste. 900 Dallas, TX
                                                                     75201-3136

 CIGNA HEALTH NETWORK, INC. (62308)                    CIGNA Insurance Agency, LLC (62308)
    1. 900 Cottage Grove Rd Hartford, CT 06152-0001       1. 900 Cottage Grove Rd Hartford, CT 06152-
    2. C T CORPORATION SYSTEM                                0001
           a. 1999 Bryan St., Ste. 900 Dallas, TX         2. C T CORPORATION SYSTEM
               75201-3136                                        a. 1999 Bryan St., Ste. 900 Dallas, TX
                                                                     75201-3136

 CIGNA Insurance Agency, LLC (80705)                   CIGNA INTEGRATED CARE, INC. (62308)
    1. 900 Cottage Grove Rd Hartford, CT 06152-0001       1. 900 Cottage Grove Rd Hartford, CT 06152-
    2. C T CORPORATION SYSTEM                                0001
           a. 1999 Bryan St., Ste. 900 Dallas, TX         2. C T CORPORATION SYSTEM
               75201-3136                                        a. 1999 Bryan St., Ste. 900 Dallas, TX
                                                                     75201-3136

 CIGNA RE CORPORATION (62308)                          Claims Management Inc. (J1004)
    1. 900 Cottage Grove Rd Hartford, CT 06152-0001        1. 922 W. Walnut St. Rogers, AR 72756
    2. C T CORPORATION SYSTEM                              2. CSC
           a. 1999 Bryan St., Ste. 900 Dallas, TX                 a. 251 Little Falls Drive Wilmington, DE
               75201-3136                                             19808
                                                           3. One Upper Pond Road, Building F, 4th Floor
                                                              Parsippany, NJ 07054

 Community Care HMO, Inc. (73143)                      Corizon Health, Inc.
    1. Williams Center Tower II Tulsa, OK 74103           1. Jill P. Moldrem, 103 Powell Ct Brentwood, TN
    2. REMSEN R. BEITEL III                                    37027-7046
           a. 218 W Sixth St Tulsa, OK 74119              2. C T CORPORATION SYSTEM
                                                                   a. 300 Montvue Rd Knoxville, TN
                                                                       37919-5546

 CNA Financial Corporation                             COVENTRY CARELINK INSURANCE
   1. 151 N Franklin St Chicago, IL 60606              SERVICES, LLC (25133)
   2. STATHY DARCY                                        1. 1302 Concourse Dr Linthicum Heights, MD
           a. 151 N Franklin St Chicago, IL 60606            21090
   3. 151 N Franklin St Chicago, IL 60606                 2. C T Corporation System
                                                                 a. 2 Office Park CT STE 103 Columbia
                                                                     SC 29223

 COVENTRY HEALTH CARE WORKERS                          CommunityCare, Inc. (73143)
 COMPENSATION, INC. (25133)                               1. Williams Center Tower II Two West Second
   1. 6705 Rockledge Drive Bethesda, MD 20817                Street, Suite 100 Tulsa, OK 74103
   2. THE CORPORATION TRUST,                              2. Remsen R. Beitel Iii
      INCORPORATED                                               a. 218 W Sixth St Tulsa, OK 74119
          a. 2405 YORK ROAD, Suite 201                    3. 218 W Sixth St Tulsa, OK 74119
             LUTHERVILLE-TIMONIUM, MD
             21093-2264




                                               Exhibit A
                                              Page 4 of 11
Case 18-33730-hdh11 Doc 147-1 Filed 09/06/19                Entered 09/06/19 15:16:40           Page 5 of 11
 CULINARY HEALTH FUND ADMINISTRATIVE                     EDISON HEALTH NETWORK, LLC (J1817)
 SERVICES, LLC (59140)                                      1. 6303 E 102nd St. Tulsa, OK 74137
    1. 1901 Las Vegas Boulevard South, Suite 107 Las        2. Michael J. King
       Vegas, NV 89104                                             a. 2448 East 81st Street Suite 5900
    2. Kathy Silver                                                    Tulsa. OK 74137
           a. 1901 Las Vegas Blvd South, Suite 101
               LAS VEGAS, NV 89104

 EMC Insurance Companies                                 Employers Holdings, Inc. (J1231)
   1. 2505 N Plano Rd # 2000 Richardson, TX 75082           1. 10375 Professional Circle Reno, NV 89521
   3. ATTN: Legal Department 2505 N Plano Rd               3. PO Box 32036 Lakeland, FL 33802
       # 2000 Richardson, TX 75082

 Employers Risk Management Services L.L.C.               Entrust, LLC (36878)
    1. 5046 Laura Lane, Woodworth, LA 71485                  1. 22322 Grand Corner Dr Ste 200 Katy, TX
    2. Lyman B. Phillips, Jr.                                    77494-5941
            a. 5046 Laura Lane, Woodworth, LA                2. C T Corporation System
                71485                                                a. 1999 Bryan St., Ste. 900 Dallas, TX
                                                                         75201-3136

 Esis, Inc.                                              F & M Benefits Inc
     1. 436 Walnut Street Philadelphia, PA 19106            1. 912 White Aster Court Dacula, GA 30019
     2. C T CORPORATION SYSTEM                              2. Beth S. Hilscher, P.C.
            a. 436 Walnut Street Philadelphia, PA                  a. 671 Main Street, Suite 200 Suwanee,
                19106                                                    GA      30024
     3. Alison Hathoway
            a. PO BOX 6563 Scranton, PA 18505

 FARA Insurance Services                                 Federate Mutual Insurance Company
    1. 4040 Essen Ln Suite 200 Baton Rouge, LA              1. 121 E Park Sq Owatonna, MN
       70809                                                2. 200 E. Gaines Street, P O Box 6200
   3. 4040 Essen Ln Suite 200 Baton Rouge, LA 70809              Tallahassee, FL 32399
                                                            3. 200 E. Gaines Street, P O Box 6200
                                                                 Tallahassee, FL 32399

 Gallagher Bassett Services, Inc. (TP057)                Gilsbar, INC. (62308)
     1. 11940 Jollyville Rd Suite 210 Austin, TX 78759       1. 2100 Covington Centre Covington, LA 70433
     2. Prentice Hall Corporation System                     2. Henry J. Miltingburger Jr.
            a. 505 5th Ave Suite 729 Des Moines, IA                  a. PO 998 Covington, LA 70433
                 50309                                       3. 2100 Covington Centre Covington LA, 70433
     3. 505 5th Ave Suite 729 Des Moines, IA 50309

 Golden Rule Insurance CO (37602)                        Government Employees Health Association, INC.
    1. 7440 Woodland Dr. Indianapolis, IN 76278          (57254)
    2. C T Corporation system                                1. 310 N.E. Mulberry St. Lees Summit, MO
            a. 150 West Market St. suite 800                     64086
                Indianapolis, IN 76204                       2. C T Corporation system
    3. 7400 Woodland Dr. Indianapolis, IN 76278                      a. 120 South Central Ave Clayton, MO
                                                                        63105
                                                             3. 120 South Central Ave Clayton, MO 63105

 Government Office                                       Government Employees Health Association, INC.
    1. 800 Dutch Square Blvd #160 Columbia, SC           (44054)
       29210                                                 1. 310 N.E. Mulberry St. Lees Summit, MO
                                                                 64086
                                                             2. C T Corporation system
                                                                     a. 120 South Central Ave Clayton, MO
                                                                        63105
                                                             3. 120 South Central Ave Clayton, MO 63105




                                                 Exhibit A
                                                Page 5 of 11
Case 18-33730-hdh11 Doc 147-1 Filed 09/06/19                 Entered 09/06/19 15:16:40           Page 6 of 11
 GPA Holding, Inc. ( 48143)                               Health Net, LLC (95567)
    1. 12770 Merrit Dr. Suite 200 Dallas, TX                 1. 21650 Oxnard Street Woodland Hills, CA
    2. Jerry L. McPeters                                     2. C T CORPORATION SYSTEM
            a. Park Central 8, 17220 Merit Drive, 2nd                 a. 120 South Central Avenue Clayton,
                Floor Dallas, TX 75251                                   MO 63105


 Health Network Group LLC                                 HealthSCOPE Benefits INC. (62308)
    1. 30 Fox Hunt Dr. Bear, DE 19701                        1. 27 Corporate Hill Dr. Little Rock, AR 72205
    2. Sullivan, Erika L ESQ                                 2. CT Corporation System
            a. 2500 N Military Trail Boca Raton, FL                 a. 67 Burnside Ave. East Hartford, CT
                33431                                                   06108


 HealthSmart Care Management Solutions L.P. (75250)       Healthspring INC. (63092)
    1. 222 West Las Colinas Blvd. suite 500 north tower      1. 529 Great Circle Rd. Nashville, TN 37228
        Irving, TX 75039                                     2. CT Corporation System
    2. CT Corporation System                                          a. 67 Burnside Ave. East Hartford, CT
             a. 3867 Plaza tower Dr. Baton Rouge, LA                     06108
                 70816
    3. 222 West Las Colinas Blvd. suite 500 north tower
        Irving, TX 75039

 HELMSMAN MANAGEMENT SERVICES LLC                         Hewitt, Coleman & Associates, LLC (97041)
 (33600)                                                     1. 850 S Pleasantburg Dr Greenville, SC 29607
     1. 175 Berkeley St Boston, MA 2116                      2. Robert P. Harling
     2. Corporation Service Company                                   a. 1627 E. North Street Greenville, SC
            a. 82 State Street Boston, MA 2109                           29607
                                                             3. 1627 E. North Street Greenville, SC 29607

 HMO LOUISIANA, INC. (00670)                              HMO LOUISIANA, INC. (SB670)
   1. 5525 Reitz Avenue Baton Rouge, LA 70809               1. 5525 Reitz Avenue Baton Rouge, LA 70809
   2. Michele S. Calandro                                   2. Michele S. Calandro
          a. 5525 Reitz Avenue Baton Rouge, LA                     a. 5525 Reitz Avenue Baton Rouge, LA
              70809                                                    70809
   3. Melany Chapman                                        3. Melany Chapman
          a. PO 98029 Baton Rouge, LA 70898-9029                   a. PO 98029 Baton Rouge, LA 70898-
                                                                       9029

 Humana Insurance Company (61101)                         HumanaMilitary (38520)
    1. 1100 Employers Blvd Depere WI 70201                   1. DHA 7700 Arlington Boulevard Suite 5101
    2. Corporation Service Company                               Falls Church, VA 22042
           a. 421 West Main St. Frankfort, KY 40601         3. P.O. Box 740062 Louisville, KY 40201


 HumanaMilitary (61125)                                   Health Plan of Nevada INC. (76342)
    1. DHA 7700 Arlington Boulevard Suite 5101 Falls         1. 2720 N Tenaya Way Las Vegas, NV 89128
        Church, VA 22042                                     2. CT CORPORATION SYSTEM
   3. P.O. Box 740062 Louisville, KY 40201                            a. 701 S Carson St Ste 200 Carson City,
                                                                          NV 89701
                                                             3. PO Box 15645 Las Vegas, NV 89114

 Health Net Federal Services, LLC                         Highmark Inc (66006)
    1. 2025 Aerojet Road Rancho Cordova, CA 95742            1. 120 Fifth Ave Pittsburgh, PA 15222
    2. C T Corporation System INC                            3. 120 Fifth Ave Pittsburgh, PA 15222
             a. 818 W. 7th Street Los Angeles, CA
                 90017
    3. 818 W. 7th Street Los Angeles, CA 90017




                                                 Exhibit A
                                                Page 6 of 11
Case 18-33730-hdh11 Doc 147-1 Filed 09/06/19               Entered 09/06/19 15:16:40           Page 7 of 11
 KEY MEDICAL GROUP, INC. (IP082)                        KEY MEDICAL GROUP, INC. (IP083)
   1. 3335 S. Fairway Visalia, CA 93277                   1. 3335 S. Fairway Visalia, CA 93277
   2. Steve Beargeon                                      2. Steve Beargeon
          a. 3335 S. Fairway Visalia, CA 93277                   a. 3335 S. Fairway Visalia, CA 93277
   3. "Attn Legal Department" 3335 S. Fairway             3. "Attn Legal Department" 3335 S. Fairway
      Visalia, CA 93277                                      Visalia, CA 93277

 Attorney Kutner, Adam S                                Las Vegas Metropolitan Police Department
     1. 1137 South Ranch Dr. #1 Las Vegas, NV 89102         1. 400 S. Martin L. King Blvd Las Vegas, NV
                                                               89106
                                                            2. N/A
                                                            3. 400 S. Martin L. King Blvd Las Vegas, NV
                                                               89106
                                                               ATTN: Legal Department

 Liberty Mutual Insurance Company (33600)               Liberty Mutual Insurance Company (33600)
     1. 175 Berkeley St. Boston, MA 02116                   1. 175 Berkeley St. Boston, MA 2116
     2. Corporation Service Company                         2. Corporation Service Company
            a. 84 State St. Boston, MA 02109                       a. 84 State St. Boston, MA 02109

 Loomis Benefits, Inc. (23223)                          Louisiana Workers’ Compensation Corporation
    1. 8367 West Flamingo Rd Ste 202 Las Vegas, NV         1. 2237 S. Acadian Thruway Baton Rouge, LA
        89147                                                   70808
    2. CORPORATION SERVICE COMPANY                         2. Stephen W. Cavanaugh / Dickie W. Patterson
            a. 112 North Curry Street Carson City, NV               a. 2237 S. Acadian Thruway Baton
                 89703                                                 Rouge, LA 70808
                                                           3. 2237 South Acadian Thruway Baton Rouge,
                                                                LA 70808

 Markel Corporation                                     Medica Health Management, LLC (94265)
    1. 4521 Highwoods Pkwy Glen Allen, VA 23060            1. 401 Carlson Parkway Minnetonka, MN 55305
    2. Richard R. Grinnan
            a. 4521 Highwoods Parkway Glen Allen,
               VA 23060

 Meritain Health, Inc (41124)                           MUTUAL OF OMAHA MEDICARE ADVANTAGE
    1. CT Corporation System 28 Liberty Street New      COMPANY
         York, NY                                         1. 3300 Mutual Of Omaha Plaza Omaha, NE
    2. C T CORPORATION SYSTEM                                68175
             a. 28 Liberty St. New York, NY 10005         3. 3300 Mutual Of Omaha Plaza
    3. 111 SE Third Street Suite 100 Evansville, IN          Omaha, NE 68175
         47708

 NALC Health Benefit Plan (53011)                       National Health Finance, DM, LLC.
    1. 20547 Waverly Court Ashburn, VA 20149                1. 1347 N. Alma School Rd., Suite 150 Chandler,
   3. 20547 Waverly Court Ashburn, VA 20149                     AZ 85224
                                                            2. Ryan Holzer
                                                                    a. 1347 N. Alma School Rd., Suite 150
                                                                        Chandler, AZ 85224

 Noridian Healthcare Solutions, LLC                     Novitas Solutions, Inc. (MR085)
    1. 900 42nd St S Fargo, ND 58103                       1. 501 Grant Street, Suite 600 Pittsburgh, PA
    2. Gregory B Gullickson                                     15219
            a. 901 40th St S Ste 1 Fargo, ND               2. C T CORPORATION SYSTEM
                         58121                                      a. 1999 Bryan St., Ste. 900 Dallas, TX
                                                                        75201




                                                Exhibit A
                                               Page 7 of 11
Case 18-33730-hdh11 Doc 147-1 Filed 09/06/19                  Entered 09/06/19 15:16:40           Page 8 of 11
 New Era Life Insurance Company (75281)                    Novitas Solutions, Inc.
     1. 11720 Katy Freeway, Suite 1700 Houston, TX            1. 2020 Technology Pkwy Mechanicsburg, PA
         77079                                                     17050
    3. 11720 Katy Freeway, Suite 1700 Houston, TX             2. CT Corporation System
 77079                                                                 a. 116 Pine St # 320 Harrisburg, PA
                                                                           17101
                                                              3. 116 Pine St # 320 Harrisburg, PA 17101

 New Jersey Property-Liability Insurance Guaranty          Palmetto GBA, LLC
 Association                                                  1. 17 Technology Cir Columbia, SC 29203
     1. 233 Mt Airy Rd. Basking Ridge, NJ 07920               2. Duncan S. Mcintosh
   3. 233 Mt Airy Rd. Basking Ridge, NJ 07920                         a. I-20 at Alpine Road, AA-270
                                                                          Columbia, SC 29219

 PHP Agency, Inc.                                          Planned Administrators INC. (37287)
    1. 16650 Westgrove Dr STE 500 Addison, TX                  1. 17 Technology Cir e2ag Columbia, SC 29203
       75001                                                   2. Duncan S. McIntosh
    2. Patrick Betdavid                                               a. 2501 Faraway Dr. Columbia, SC
            a. 801 N Brand Blvd Ste 1180 Glendale,                        29223
                CA 91203                                       3. 17 Technology Cir e2ag Columbia, SC 29203

 Pirelli Armstrong Tire Corp Retiree Med Benefits TR       Peoples Health Inc
     1. PO Box 1449 Goodlettsville, TN 37070                  1. Three Lakeway Center 3838 N. Causeway
                                                                   Blvd., Suite 2200 Metairie, LA 70002
                                                              2. C T CORPORATION SYSTEM
                                                                       a. 3867 Plaza Tower Dr. Baton Rouge,
                                                                            LA 70816
                                                              3. 3867 Plaza Tower Dr. Baton Rouge, LA 70816

 Presbyterian Healthcare Services (PREHP)                  Rancho Santa Fe Insurance and Financial Services
     1. 9521 San Mateo Blvd NE Albuquerque, NM             (504912)
         87113                                                 1. 6105 Paseo Delicias Rancho Santa Fe, CA
     2. C T CORPORATION SYSTEM                                     92067
             a. 206 S Coronado Ave Espanola NM                 2.    Ty W. Shute
                87532                                                  a. 4370 La Jolla Village Drive, Suite 300
     3. 206 S Coronado Ave Espanola NM 87532                               San Diego, CA 92122

 Republic Group an Amtrust Financial Company               Rosen Law Office
 (12491)                                                      1. 6465 W. Sahara #103 Las Vegas, NV 89146
     1. 5525 Lyndon B Johnson Fwy Dallas, TX 75204
     3. PO Box 89453 Attention: Claims Imaging
         Cleveland, OH 44101

 R H Administrators Inc                                    The South Carolina School Boards Association
    1. 5502 58th St #700 Lubbock, TX 79414                     1. 111 Research Drive Columbia, SC 29203
    2. CT Corporation System                                   2. 1401 Hampton St Columbia, SC 29201
           a. 1200 South Pine Island Road Plantation,
                FL 33324

 Select Health of South Carolina, Inc.                     Scott & White Health Plan (88030)
     1. 181 E Evans St # 6 Florence, SC 29506                  1. 1206 W campus Dr. Temple, TX 76502
     2. C T Corporation System                                 2. CT CORPORATION SYSTEM
              a. 2 Office Park Court Suite 103 Columbia,              a. 1999 Bryan St., Ste. 900 Dallas, TX
                  SC 29223                                                75201
     3. PO Box 31386 Tampa, FL 33631

 Sedgwick Claims Management Services Ltd (J2545)           Sedgwick Claims Management Services Ltd (J2719)
    1. 8125 Sedgwick Way Memphis, TN 38125                    1. 8125 Sedgwick Way Memphis, TN 38125
    2. CSC                                                    2. CSC
            a. 701 Brazos St Suite 1050 Austin, TX                    a. 701 Brazos St Suite 1050 Austin, TX
                78701                                                     78701
    3. 701 Brazos St Suite 1050 Austin, TX 78701              3. 701 Brazos St Suite 1050 Austin, TX 78701
                                                  Exhibit A
                                                 Page 8 of 11
Case 18-33730-hdh11 Doc 147-1 Filed 09/06/19               Entered 09/06/19 15:16:40          Page 9 of 11
 Sedgwick Claims Management Services Ltd (J3294)        Service LLoyds Insurance Co. (J1593)
    1. 8125 Sedgwick Way Memphis, TN 38125                  1. 6907 N. Capital of Texas Hwy Austin, TX
    2. CSC                                                      78731
            a. 701 Brazos St Suite 1050 Austin, TX         3. PO Box 26850 Austin, TX 78755
                78701
    3. 701 Brazos St Suite 1050 Austin, TX 78701

 Sierra Health And Life Insurance Company, Inc          Silverback LLC (87726)
     1. 2720 N. Tenaya Way Las Vegas, NV                    1. 1701 River Run suite 205 Fort Worth, TX
     2. CT CORPORATION SYSTEM                                   76107
             a. 701 S Carson St Ste 200 Carson City,        2. Fowad Choudhry
                 NV 89701                                           a. 1701 River Run suite 205 Fort Worth,
     3. PO Box 15645 Las Vegas, NV 89114                               TX 76107

 Southern Benefit Administrators, Inc.                  SELECT HEALTH OF SOUTH CAROLINA INC.
     1. 2001 Caldwell Dr. Goodlettsville, TN 37072         1. 4390 Belle Oaks Dr #400 North Charleston, SC
     2. Jeret Brassell                                        29405
             a. 2001 Caldwell Dr. Goodlettsville, TN       2. C T Corporation System INC
                 37072                                            a. 2 Office Park Court Suite 103
     3. PO Box 1449 Goodlettsville, TN 37070                           Columbia, SC 29223
                                                           3. 2 Office Park Court Suite 103 Columbia, SC
                                                              29223

 Summit Consulting LLC                                  T C & C MEDICAL MANAGEMENT COMPANY,
    1. 2310 Commerce Point Drive Lakeland, FL 33801     L.L.C. (00315)
    2. CT Corporation System                                1. 4400 Leeds Ave North Charleston, SC 29405
           a. 1200 South Pine Island Road Plantation,       2. Thomas H Cooper
                FL 33324                                            a. 360 Concord St Ste 210 North
                                                                       Charleston, SC 29401

 Teachers Health Trust                                  Telligen Inc
    1. 2950 E Rochelle Ave Las Vegas, NV 89121              1. 1776 West Lakes Parkway West Des Moines,
    2. N/A                                                       IA 50266
    3. 2950 E Rochelle Ave Las Vegas, NV 89121              2. Registered Agent Solutions, Inc.
        ATTN: Legal Department                                       a. 400 E Court Ave Ste 110 DES
                                                                         MOINES, IA 50309

 TEXAS ASSOCIATION OF SCHOOL BOARDS,                    Texas Indigent Health Care Association; Travis
 INC.                                                   County Healthcare District
    1. 12007 Research Blvd Austin, TX 78759                1. 2028 E. Ben White Ste. 115 Austin, TX 78741
    2. James B. Crow
           a. 12007 Research Blvd. Austin, TX
               78759-2439

 Texas Municipal League Intergovernmental Risk Pool     Texas Mutual Insurance Company (22945)
 (39026)                                                   1. 2200 Aldrich Street Austin, TX 78723
     1. 1821 Rutherford Ln Austin, TX 78754                2. Mike Barrom
     3. Leah Simon                                                 a. 6210 US Hwy 290 East Austin, TX
            a. 1821 Rutherford Lane Austin, TX                         78723
                78754                                      3. 2200 Aldrich Street Austin, TX 78723

 THE HARTFORD FINANCIAL SERVICES GROUP,                 The Queen's Health Systems - NPO
 INC.                                                       1. 1301 Punchbowl Street Honolulu, HI 96813
    1. One Hartford Plaza Hartford, CT 6155                 2. John S. Nitao
    2. C T CORPORATION SYSTEM                                      a. 1301 Punchbowl St Honolulu, HI
           a. 67 Burnside Ave East Hartford, CT 6108                    96813
    3. Deborah Morgan                                       3. Attn: Mari in Legal
           a. One Hartford Plaza Hartford, CT 6155                 a. 1301 Punchbowl Street Honolulu, HI
                                                                        96813




                                                 Exhibit A
                                                Page 9 of 11
Case 18-33730-hdh11 Doc 147-1 Filed 09/06/19                Entered 09/06/19 15:16:40          Page 10 of 11
  The Travelers Companies, INC. (19046)                   TRIWEST HEALTHCARE ALLIANCE CORP.
      1. 485 Lexington Ave. New York, NY 10017            (99726)
     3. P.O. Box 660456 Dallas, TX 75265                      1. 15810 N 28th Ave Phoenix, AZ 85053
                                                              2. Corporation Service Company
                                                                     a. 1201 Hays St. Tallahassee, FL 32301

  U.S. Department of Health & Human Services              UMR, Inc. successor to Commonwealth
      1. 200 Independence Avenue, S.W. Washington,        Administrators, LLC. (37237)
          D.C. 20201                                         1. 11 Scott St. Wausau, WI 54403
      3. 200 Independence Avenue, S.W. Washington,           2. C T Corporation System INC
          D.C. 20201                                                 a. 306 W. Main St. Suite 512 Frankfort,
                                                                          KY 40601
                                                             3. Corporation Trust Center 1209 Orange St.
                                                                 Wilmington, DE 19801

  Unified Life Insurance Co.                              UnitedHealthcare, INC. (36273)
      1. 7201 W 129th St. Suite 300 Overland Park, KS         1. 9800 Health Care Lane Minnetonka, MN 55343
          66213                                               2. C T Corporation System INC
      2. Corporation Service Company Dba CSC Lawyers                 a. 1010 Dale St N St. Paul, MN 55117
          Incorp                                              3. 1010 Dale St N St. Paul, MN 55117
               a. 211 E 7th St Ste 620 Austin, TX 78701

  UnitedHealthcare, INC. (37602)                          UnitedHealthcare, INC. (81400)
      1. 9800 Health Care Lane Minnetonka, MN 55343           1. 9800 Health Care Lane Minnetonka, MN 55343
      2. C T Corporation System INC                           2. C T Corporation System INC
             a. 1010 Dale St N St. Paul, MN 55117                    b. 1010 Dale St N St. Paul, MN 55117
    3. 1010 Dale St N St. Paul, MN 55117                    3. 1010 Dale St N St. Paul, MN 55117

  UnitedHealthcare, INC. (87726)                          UnitedHealthcare, INC. (77082)
      1. 9800 Health Care Lane Minnetonka, MN 55343           1. 9800 Health Care Lane Minnetonka, MN 55343
      2. C T Corporation System INC                           2. C T Corporation System INC
             c. 1010 Dale St N St. Paul, MN 55117                    a. 1010 Dale St N St. Paul, MN 55117
    3. 1010 Dale St N St. Paul, MN 55117                      3. 1010 Dale St N St. Paul, MN 55117

  US DOL - Division of Federal Employees'                 UPMC
  Compensation (J1438)                                      1. 200 Lothrop Street Pittsburgh, PA 15213
     1. Charles E. Bennett Federal Building, 400 W Bay
         Street, Suite 826 Jacksonville, FL 32202
     3. US Department of Labor, DFEC Central
        Mailroom - District 6, PO Box 8300
        London, KY 40742

  Vanliner Insurance Company (J3151)                      Veterans Health Administration Office of
     1. 1 Premier Drive Fenton, MO 63026                  Community Care (VHA OCC) (84146)
     2. CSC                                                   1. 3773 Cherry Creek N Dr Denver, CO 80209
              a. 221 Boliver Street Jefferson City, MO
                  65101
     3. Darrel Flustner
              a. PO Box 26352 Fenton, MO 63026


  WellMed Medical Management Inc (36273)                  WellMed Medical Management Inc (WELM2)
     1. 1660 S Staples St Ste 150 Corpus Christi, TX         1. 1660 S Staples St Ste 150 Corpus Christi, TX
        78404                                                   78404
     2. C T Corporation System INC                           2. C T Corporation System INC
            a. 1999 Bryan St. Suite 900 Dallas, TX                  a. 1999 Bryan St. Suite 900 Dallas, TX
                75201                                                   75201
     3. 1660 S Staples St Ste 150 Corpus Christi, TX         3. 1660 S Staples St Ste 150 Corpus Christi, TX
        78404                                                   78404




                                                  Exhibit A
                                                 Page 10 of 11
Case 18-33730-hdh11 Doc 147-1 Filed 09/06/19              Entered 09/06/19 15:16:40         Page 11 of 11
  Coventry Health Care, Inc. (25133)                    WPS, INC (C4457)
     1. 6705 Rockledge Drive, Suite 900 Bethesda, MD      1. 1717 W. Broadway Monona, WI 53713
         20817                                            2. Willie H. Schroeder
     2. C T Corporation system                                    a. 1966 21 15/16 Street Rice Lake, WI
             a. CORPORATION TRUST CENTER                              54868
                 1209 Orange St Wilmington, DE 19801      3. 1765 West Broadway Madison, WI 53713
     3. Corporation Trust Center 1209 Orange St
         Wilmington, DE 19801

  WPS, INC (VAPC3)                                      York Risk Services Group, INC.
    1. 1717 W. Broadway Monona, WI 53713                   1. 1 Upper Pound Road Bldg 4th Floor
    2. Willie H. Schroeder                                     Parsippany, NJ 07054
            a. 1966 21 15/16 Street Rice Lake, WI          2. Corporation Service Company
               54868                                               a. 80 State Street Albany, NY 1220
    3. 1765 West Broadway Madison, WI 53713                3. 80 State Street Albany, NY 1220

  Zurich American Insurance Co. (WA039)
     1. 1299 Zurich Way Schaumburg, IL 60196
     2. Corporation Service Company
            a. 211 E. 7th Street Suite 260 Austin, TX
                 78701
     3. 211 E. 7th Street Suite 260 Austin, TX 78701




                                                Exhibit A
                                               Page 11 of 11
